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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 KEVIN FRAZIER,                                    Civ. No. 2:10-05398 (WJM)

              Plaintiff,
                                                            OPINION
       v.

 BED BATH AND BEYOND INC. &
 GARY NEWTON

              Defendants.



        Plaintiff Kevin Frazier, a database administrator who was fired from his job
 at Bed Bath and Beyond (“BBB”), brings this employment discrimination case
 against BBB and Frazier’s former supervisor, Gary Newton (together
 “Defendants”). Defendants move for summary judgment pursuant to Federal Rule
 of Civil Procedure 56. Defendants also move for an adverse inference based on
 spoliation. There was no oral argument. Fed. R. Civ. P. 78(b). For the reasons set
 forth below, summary judgment is GRANTED IN PART and DENIED IN
 PART. The adverse inference is DENIED.

 I.    BACKGROUND

        On May 7, 2007 Plaintiff Kevin Frazier began working as a database
 administrator for BBB’s SQL team. Defs.’ Statement of Undisputed Material
 Facts (“DSF”) ¶ 1, ECF No. 46-1. Frazier’s manager was Gary Newton; Newton’s
 manager was David Ortiz. Id. ¶ 3. Besides from supervising the SQL team,
 Newton also supervised the Oracle team and the DB2 team. Id. ¶ 32.

 Inappropriate Emails
        During his time at BBB, Frazier, who is African-American, received two
 racially insensitive emails. On August 11, 2008, a co-worker named Denise Del
 Ray sent Frazier an email containing several offensive images of African-
 Americans (the “Del Ray Email”). Id. ¶ 7. Frazier did not report the email to his
 supervisor or Human Resources until February 10, 2009. Id. ¶ 11.
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        On November 4, 2008, David Rubin, an outside consultant sent Frazier an
 email with the subject line “Ghetto Spongebob” (the “Rubin Email”). Id. ¶ 16.
 Frazier’s reply, “lmao,” indicated amusement. Id. ¶ 17. One day later, Frazier
 changed his mind. He forwarded the “Ghetto Spongebob” email to Ortiz and told
 Ortiz that he was offended by the message. Id. ¶ 19. Id. Ortiz said he would
 direct Rubin to stop sending inappropriate emails. Id. ¶ 20.

 Alleged Acts of Retaliation
        On December 16, 2008, more than five weeks after Frazier reported the
 “Ghetto Spongebob” email to Ortiz, Frazier’s on-call schedule was changed. Id. ¶
 35. Until that point, Frazier had alternated on-call hours with an outside vendor
 called Data Futures. Id. ¶ 36. Going forward, Frazier would be on-call 24-7. Id. ¶
 34. It is undisputed that Frazier’s predecessor at BBB had the same on-call
 schedule. Id. ¶ 40. It is undisputed that Frazier’s successor at BBB had the same
 on-call schedule. Id. ¶ 41. And it is undisputed that members of the Oracle team
 and the DB2 had the same on-call schedule. Id. ¶¶ 42-43.
        Also on December 16, 2008, Frazier was told that his workday, which began
 at 9 a.m. and ended at 5 p.m., would now begin at 8 a.m. and end at 5 p.m. Pl.’s
 Statement of Undisputed Materials Facts (“PSF”) ¶ 39, ECF No. 51-1; Frazier
 Transcript 116:24-117:25. At the time, Frazier claims, “everybody else” was
 working from 9 to 5. Frazier Dep. at 115:1-5, ECF No. 51-4. Specifically, Frazier
 identified Vinu, Diane, and Lisa as co-workers who worked an eight-hour day. Id.
 at 115:6-11. It is unclear from the record whether Frazier had firsthand knowledge
 of his colleagues’ work hours. Indeed, the colleagues identified by Frazier
 submitted declarations stating that they worked from 8 a.m. to 5 p.m. Del Rey
 Declaration, ECF No. 53-2; Thomas Declaration, ECF No. 53-3; McHugh
 Declaration, ECF No. 53-4; see also Newton Declaration, ECF No. 53-1.
        The record is not clear when, but probably at some point in Fall 2008, Ortiz
 asked Frazier to perform an SQL 2008 installation. DSF ¶ 44. In preparation for
 the installation, BBB enrolled Frazier in a training class. Id. ¶ 45. The vendor
 proceeded to cancel the class a number of times, and BBB told Frazier it planned
 to find another vendor. Id. ¶ 46. On the day Frazier was required to perform the
 installation, he had yet to take the class. Id. ¶ 47.
        Though Frazier successfully completed the installation, id., he was
 concerned about not receiving the necessary training. Ortiz told Frazier that it was
 not Frazier’s place to air his concerns. PSF ¶ 40 (quoting Frazier Dep. at 162:24-
 163:17). In response, Frazier smiled. Id. Ortiz replied: “You know, you need to
 stop smiling or I’ll give you something to smile about.” Id.
        On February 10, 2009, Frazier reported the November 5, 2008 “Ghetto
 Spongebob” email to BBB’s Human Resources Department. DSF ¶ 24. That same

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 day, Frazier met with Human Resources Manager Denise DiPiano. Id. ¶ 25.
 DiPiano subsequently spoke with both Ortiz and Del Ray. DiPiano learned that
 Ortiz had instructed Rubin to stop sending inappropriate emails. Id. ¶ 30. DiPiano
 told Del Ray that Del Ray would face severe discipline if she continued to send
 inappropriate emails. Id. ¶ 31.
        Not two weeks later, on February 21, 2009, Frazier filed a discrimination
 charge with the Equal Employment Opportunity Commission (“EEOC”) alleging
 race discrimination. Id. ¶ 51.

 Frazier’s Performance Review and Subsequent Termination
       On Friday, May 8, 2009, Newton sat down with Frazier for a performance
 review. Id. ¶ 54. Frazier received an evaluation of “Meets Expectations,” and he
 was told his salary was being increased. Id. ¶¶ 55, 56. The next business day,
 Frazier was terminated. Id. ¶ 68. The parties offer wildly different accounts of the
 termination.
        Defendants offer the following account of his termination: On May 8,
 2009, Frazier and Newton met to discuss Frazier’s performance review. Id. ¶ 54.
 In 2008, Frazier had received a review of “Meets Expectations+”. Id. ¶ 53. This
 time, Frazier was given a review of “Meets Expectations.” Id. ¶ 55. Frazier
 accused Newton of lying on the performance review, and he told Newton that the
 review was retaliatory. Newton Dep. at 80:9-13, 84:16-20, ECF No. 46-4. Before
 the meeting concluded, Frazier got up and stormed out of the room. DSF ¶ 60.
 The next business day, Monday, May 11, Frazier stopped by Newton’s cubicle at
 8:30 a.m. Id. ¶ 61. Newton asked if Frazier wanted to continue the performance
 review meeting, and Frazier said yes. Newton Dep. at 113:14-20. Frazier walked
 away, but he returned ten minutes later. Id. 114:2-5. In an exchange witnessed by
 co-workers, Frazier proceeded to scream at Newton, call Newton a liar, and refuse
 to reconvene the performance review meeting. DSF ¶¶ 62-63. The outburst was
 brought to the attention of BBB Vice President of Human Resources Connie Van
 Dyke and BBB Director of Corporate Human Resources Paul DePrima. Together,
 Van Dyke and DePrima decided that DePrima and Newton would meet with
 Frazier to discuss Frazier’s conduct. Id. ¶ 65. If Frazier admitted to the conduct
 described by Newton, Frazier would be terminated. Id. ¶ 66. DePrima and
 Newton proceeded to meet with Frazier. At the meeting, Frazier admitted calling
 Newton a liar. Id. ¶ 69. Based on this acknowledgement, and based on Frazier’s
 refusal to finish his performance review, DePrima fired Frazier on the spot. Id.
       Frazier offers the following account of his termination: On May 8, 2009,
 Frazier and Newton sat down for Frazier’s performance review. At the meeting,
 Frazier noted that certain ratings had been downgraded from the previous year.
 PSF ¶ 58. Frazier told Newton that he disagreed with parts of the review, and that

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 he believed the review was retaliatory. Id. ¶¶ 59-60. But Frazier did not call
 Newton a liar. Id. ¶ 64. When the meeting was over, Frazier asked for a copy of
 his review. Id. ¶ 61. He was told he could not have one. Id. Frazier had no
 further interaction with Newton until he met with Newton and DePrima on May
 11, 2009. Id. ¶ 67. At that meeting, DePrima said: “We can – we feel that we can
 no longer trust you because of filing EEOC complaints and we know that you are
 unhappy, so today is your last day.” Id. (quoting Frazier Tr. at 170:8-14).

 II.    LEGAL STANDARD

        Federal Rule of Civil Procedure 56 provides for summary judgment “if the
 pleadings, the discovery [including, depositions, answers to interrogatories, and
 admissions on file] and disclosure materials on file, and any affidavits show that
 there is no genuine issue as to any material fact and that the movant is entitled to
 judgment as a matter of law.” Fed. R. Civ. P. 56; see also Celotex Corp. v. Catrett,
 477 U.S. 317, 322-23 (1986); Turner v. Schering–Plough Corp., 901 F.2d 335, 340
 (3d Cir. 1990). A factual dispute is genuine if a reasonable jury could find for the
 non-moving party, and is material if it will affect the outcome of the trial under
 governing substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
 (1986). The Court considers all evidence and inferences drawn therefrom in the
 light most favorable to the non-moving party. Andreoli v. Gates, 482 F.2d 641,
 647 (3d Cir. 2007). “Conclusory statements, general denials, and factual
 allegations not based on personal knowledge [are] insufficient to avoid summary
 judgment.” Olympic Junior, Inc. v. David Crystal, Inc., 463 F.2d 1141, 1146 (3d
 Cir. 1972).

 III.   DISCUSSION

        The Complaint asserts eight causes of action. Count VIII, which asserts a
 violation of the Fair Labor Standards Act, was dismissed pursuant to stipulation.
 ECF No. 33. Counts I, III, and V assert hostile work environment claims under 42
 U.S.C. § 1981 (“Section 1981”), Title VII of the Civil Rights Act of 1964, 42
 U.S.C. § 2000(e) (“Title VII”), and the New Jersey Law Against Discrimination
 (“NJLAD”). In his opposition brief, Frazier states that he “does not contest
 dismissal of his racial hostile work environment . . . Counts in the Complaint.”
 Pl.’s Br. at 36 n.11, ECF No. 51. Accordingly, the Court will DISMISS Counts I,
 III, and V WITH PREJUDICE.
        Defendants move for summary judgment on the remaining claims, Counts II,
 IV, VI, and VII. Counts II, IV, and VI allege retaliation by both Defendants, in


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 violation of Section 1981, Title VII, and the NJLAD. Count VII, directed at
 Newton only, alleges aiding and abetting violations of the NJLAD.

        A.      CLAIMS AGAINST BBB

        In Counts II, IV, and VI, Frazier asserts retaliation claims against BBB.1
 Frazier’s claims proceed under two theories. First, Frazier argues that his
 termination was retaliatory. Second, Frazier argues that he was subject to
 retaliatory harassment.

                1.     Retaliatory Termination

       The parties offer wildly different accounts of Frazier’s termination. Frazier
 maintains that BBB’s Director of Corporate Human Resources told him that he
 was being fired because of his EEOC complaint. This is enough to survive
 summary judgment. See Moore v. City of Philadelphia, 461 F.3d 331, 340-41 (3d
 Cir. 2006); see also Montone v. City of Jersey City, 709 F.3d 181, 191 (3d Cir.
 2013) (“In considering a motion for summary judgment, a district court may not
 make credibility determinations or engage in any weighing of the evidence;
 instead, the non-moving party’s evidence is to be believed[,] and all justifiable
 inferences are to be drawn in his favor.”) (internal quotation and citation omitted).
 Accordingly, the Court will DENY summary judgment on the retaliatory
 termination claims.

                2.     Retaliatory Harassment

        Based on the undisputed facts, summary judgment is proper on Frazier’s
 retaliatory harassment claim. Even if Frazier has set forth evidence of an adverse
 employment action, he has not set forth evidence of causation.
        The Third Circuit recognizes a retaliation claim based on a hostile work
 environment. See Jensen v. Potter, 435 F.3d 444, 448 (3d Cir. 2006), overruled in
 part on other grounds by Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53
 (2006). To set forth a prima facie case of retaliatory harassment, a plaintiff must
 demonstrate “(1) she engaged in protected activity, (2) she was subject to
 ‘materially adverse’ action against her, and (3) there was a causal connection
 between her protected activity and the employer’s action. Seybert v. International
 Group, Inc., No. 7-3333, 2009 WL 722291, at *20 (E.D. Pa. Mar. 17, 2009) (citing

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  The parties agree that the governing law is substantially the same for each count. Def.’s Br. at
 6 n.2, ECF No. 48; Pl.s’ Br. at 3-4, ECF No. 51.

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 Moore, 461 F.3d at 340-41). Timing alone cannot establish causation unless the
 period between the protected act and the retaliatory act is “unusually suggestive of
 retaliatory motive.” Krouse v. American Sterilizer Co., 126 F.3d 494, 503 (3d Cir.
 1997) (internal citation and quotation omitted).
        Frazier argues that four acts, when considered in the aggregate, constitute a
 materially adverse employment action. First, Frazier was given 24-7 on-call
 responsibilities. Second, Frazier was required to install a database without the
 proper training. Third, after Frazier raised concerns about having to perform
 projects without the necessary training, Ortiz said: “You know, you need to stop
 smiling or I’ll give you something to smile about.” Frazier Dep. at 162:24-
 163:17). Fourth, BBB changed Frazier’s schedule so that he was working one hour
 more each day than his peers.
        It is clear that when Frazier’s on-call schedule was changed, he was not
 being treated differently from similarly situated co-workers, from his predecessor,
 or from his successor. The Court does not dispute that a change in Frazier’s hours
 was unwelcome. But viewed in context, the schedule change was not retaliatory
 harassment. Moreover, when the Court aggregates the schedule change with
 Ortiz’s threat and the imposition of a tight deadline, the Court does not find that
 retaliatory harassment occurred. See Robinson v. City of Pittsburgh, 120 F.3d
 1286, 1297 (3d Cir. 1997), overruled on other grounds by Burlington N. & Santa
 Fe Ry. Co. v. White, 548 U.S. 53 (2006) (“[Not every] insult, slight, or
 unpleasantness gives rise to a valid Title VII claim.”).
        The last act Frazier alleges to be retaliatory was changing his daily work
 hours from 8 a.m. to 5 p.m. Frazier claims that his work hours were originally 9
 a.m. to 5 p.m. DSF ¶ 39. On December 16, 2008, when Frazier learned about the
 changes to his on-call schedule, he was told that his workday would begin at 8
 a.m., not 9 a.m. Frazier Tr. 115:1-15, 116:24-117:1. Frazier claims that the
 change in hours was retaliatory because he was made to work one hour more per
 day than his colleagues. As an initial matter, there is no indication that Frazier had
 firsthand knowledge of his colleagues’ schedules. If Frazier’s testimony was
 secondhand or speculative, the Court may not consider it for summary judgment
 purposes. See Wertheimer v. Singer, No. 6-6233, 2009 WL 197515, at *1 (D.N.J.
 Jan. 26, 2009) (citing Olympic Junior, Inc. v. David Crystal, Inc., 463 F.2d 1141,
 1146 (3d Cir. 1972) (“Conclusory statements, general denials, and factual
 allegations not based on personal knowledge [are] insufficient to avoid summary
 judgment.”). The firsthand testimony in the record indicates that Frazier’s
 testimony about his colleagues was incorrect and not based on personal
 knowledge. See Del Rey Declaration, ECF No. 53-2; Thomas Declaration, ECF
 No. 53-3; McHugh Declaration, ECF No. 53-4; Newton Declaration, ECF No. 53-
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        But even if the Court were to accept that Frazier was made to work longer
 hours than his colleagues, summary judgment would still be proper based on a
 failure to establish causation. Frazier’s work hours were changed on December 16,
 2008. Frazier Transcript 116:24-117:25. The only protected activity pre-dating
 that change was Frazier’s complaint to Ortiz about the Rubin email on November
 5, 2008. The five week gap between the complaint and the schedule change is not,
 by itself, “unusually suggestive of retaliatory motive.” Id.; see Williams v. Phila.
 Hous. Auth. Police Dep’t, 380 F.3d 751, 760 (3d Cir. 2004) (two months not
 unusually suggestive); Carmody v. Pa. State Univ., No. 5-1645, 2007 WL
 1074862, at *8 (M.D. Pa. Apr. 9, 2007) (one month not unusually suggestive). As
 Frazier offers no other evidence of causation, the Court will GRANT summary
 judgment on the retaliation claims alleging retaliatory harassment.

            B.       CLAIMS AGAINST NEWTON

       In Counts II, IV, and VI, Frazier asserts retaliation claims against Newton.
 In Count VII, Frazier asserts that Newton aided and abetted a violation of the
 NJLAD. As with Frazier’s claims against BBB, Frazier’s claims against Newton
 proceed under two theories: retaliatory termination and retaliatory harassment.
 Newton moves for summary judgment on all counts.

                     1.       Retaliation

        Frazier argues that Newton is liable for the same retaliation violations as
 BBB. First, Frazier argues that Newton is liable for Frazier’s termination. Second,
 Frazier argues that Newton is liable for retaliatory harassment. The Court finds
 that summary judgment is proper on the retaliatory harassment theory but not on
 the retaliatory termination theory.
        For the reasons set forth in Section III.A.2, Frazier has failed to set forth
 evidence of retaliatory harassment. Accordingly, the Court will GRANT summary
 judgment in Newton’s favor on Counts II, IV, and VI to the extent they allege
 retaliatory harassment.
        Next, the Court will DENY summary judgment on the retaliatory
 termination theory. Individuals are directly liable for retaliatory termination under
 Section 1981 if they “intentionally caused [their employer] to infringe on
 [plaintiff’s] Section 1981 rights, or if they authorized, directed, or participated in
 the alleged discriminatory conduct.” Al-Khazraji v. St. Francis College, 784 F.2d
 505, 518 (3d Cir. 1986). 2 There is no evidence that Newton authorized or directed

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     Newton does not argue that the standard for individual liability is different under Title VII or the NJLAD.

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 Frazier’s termination. But a jury could conclude that Newton participated in the
 termination. One day before Frazier was fired, Frazier met with Newton for his
 performance review. During that meeting, Newton acknowledges, Frazier
 complained that his performance review was retaliatory. The next business day,
 Frazier met with Newton and DePrima. At that meeting, Frazier claims he was
 told: “We can – we feel that we can no longer trust you because of filing EEOC
 complaints.” Crediting Frazier’s account, a reasonable jury could conclude that
 Newton participated in the termination.

              2.     Aiding and Abetting Retaliation

        Count VII asserts a claim against Newton for aiding and abetting violations
 of the NJLAD. Defendants move for summary judgment on this claim, arguing
 that Newton did not knowingly assist a violation of the NJLAD or exhibit
 deliberate indifference to a violation of the NJLAD.
        Aiding and abetting liability under the LAD can be active or passive. See
 Lopez-Arenas v. Zisa, No. 10-2668, 2012 WL 933251, at *8 (D.N.J. Mar. 19,
 2012). “To establish the former—the active—form of aiding and abetting liability,
 a plaintiff must show that (1) the party whom the defendant aids must perform a
 wrongful act that causes an injury; (2) the defendant must be generally aware of his
 role as part of an overall illegal or tortious activity at the time that he provides the
 assistance; and (3) the defendant must knowingly and substantially assist the
 principal violation.” Id. (internal citations omitted). “To establish the latter—the
 passive—form of aiding and abetting liability, a plaintiff mush show that the
 supervisor holds a duty to act against harassment and yet remains deliberately
 indifferent to its existence.” Id. Frazier does not argue that Newton should be
 liable for passive aiding and abetting. Instead, he focuses on active aiding and
 abetting.
        Here, a jury can find that BBB is liable for a single principal violation:
 retaliatory termination. Accordingly, to the extent Frazier’s aiding and abetting
 claim concerns retaliatory harassment, the Court will GRANT summary judgment
 in Newton’s favor. However, to the extent Frazier’s aiding and abetting claim
 concerns Newton’s role in Frazier’s termination, the Court will DENY summary
 judgment. For the reasons described in the previous section, a jury could find that
 Newton actively aided and abetted a violation of the NJLAD. Specifically, a jury
 could conclude that Newton aided a wrongful act (Frazier’s termination) that
 Newton was generally aware of his role, and that Newton knowingly and
 substantially assisted the principal violation.



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       C.    ADVERSE INFERENCE

        Defendants argue that Frazier spoliated notes he took in his meeting with
 Newton and DePrima. Defendants ask the Court to impose an adverse inference
 that the allegedly destroyed evidence “stated the true non-discriminatory reason
 that Frazier was given for his termination.” Defs.’ Br. at 26. As Defendants’
 spoliation charge rests on disputed facts, the Court will not impose an adverse
 inference at this time.
        Spoliation is “the destruction or significant alteration of evidence, or the
 failure to preserve property for another’s use as evidence in pending or reasonably
 forseeable litigation.” Mosaid Technologies Inc. v. Samsung Electronics Co., Ltd.,
 348 F. Supp. 2d 332, 335 (D.N.J. 2004) (quoting Zubulake v. UBS Warburg LLC,
 No. 2-1243, 2004 WL 1620866, at *15 (S.D.N.Y. July 20, 2004)). The movant
 bears the burden of establishing spoliation. Williams v. Klem, No. 7-1044, 2010
 WL 3812350, at *2 (M.D. Pa. Sept. 22, 2010). “Potential sanctions for spoliation
 include: dismissal of a claim or granting judgment in favor of a prejudiced party;
 suppression of evidence; an adverse inference, referred to as the spoliation
 inference; fines; and attorneys’ fees and costs.” Id. An adverse inference will
 issue based on spoliation when “the destroyed evidence might or would have been
 unfavorable to the position of the offending party.” Scott v. IBM Corp., 196 F.R.D.
 233, 248 (D.N.J. 2000). To impose an adverse inference, the Court must conclude
 that: “(1) the evidence was within the party’s control; (2) there was an actual
 suppression or withholding of evidence; (3) the evidence was destroyed or
 withheld was relevant to the claims or defenses; and (4) it was reasonably
 foreseeable that the evidence would be discoverable.” Gatto v. United Air Lines,
 Inc., No. 10-1090, 2013 WL 1285285, at *3 (D.N.J. Mar. 25, 2013) (citing Mosaid,
 348 F. Supp. 2d at 336).
        In his deposition, DePrima testified that Frazier took notes on the back of a
 business card while he was being terminated. It is undisputed that Frazier failed to
 produce the business card in discovery. But Frazier denies taking notes on the
 business card. Newton’s deposition testimony appears to confirm Frazier’s
 account. Asked to describe what occurred at the termination meeting, Newton said
 nothing about Frazier’s note taking.
        For an adverse inference to issue, Defendants must establish spoliation. To
 establish spoliation, Defendants must demonstrate that the business card was
 “relevant to the claims or defenses” at issue in the case. If Frazier took notes on
 the business card, it was most likely relevant; if Frazier did not take notes on the
 business card, the business card was irrelevant. Given the factual dispute about
 whether Frazier took notes on the business card, Defendants have not demonstrated
 that the business card contained information relevant to this case. Accordingly, the

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 Court will DENY the request for an adverse inference. The Court will be willing
 to revisit the issue at trial. See Williams v. Klem, No. 7-1044, 2010 WL 3813250,
 at *3 (M.D. Pa. Sept. 22, 2010) (deferring spoliation ruling to trial where
 underlying facts were contested).

 IV.   CONCLUSION

        For the reasons stated above, Defendants’ motion for summary judgment is
 GRANTED IN PART and DENIED IN PART. The Court will DENY summary
 judgment for both Defendants on Counts II, IV, and VI to the extent the counts
 allege retaliatory termination. The Court will GRANT summary judgment for
 both Defendants on Counts II, IV, and VI to the extent the counts allege retaliatory
 harassment. The Court will GRANT summary judgment for Newton on Count
 VII to the extent the count alleges aiding and abetting retaliatory harassment, and it
 will DENY summary judgment on Count VII to the extent the count alleges aiding
 and abetting retaliatory termination.
        The Court will DENY the request for an adverse inference.
        Finally, the as Frazier does not contest the dismissal of his hostile work
 environment claims, the Court will DISMISS Counts I, III, and V with prejudice.

                                                    /s/ William J. Martini
                                                 WILLIAM J. MARTINI, U.S.D.J.

 Date: April 29, 2013




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